                                                Case 8:20-cv-02398-JVS-DFM Document 84 Filed 07/01/22 Page 1 of 6 Page ID #:1490




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                                                                  8
                                                                                            UNITED STATES DISTRICT COURT
                                                                  9
                                                                                  CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                                 10
                                                                 11
                                                                    SECURITIES AND EXCHANGE                   Case No. SACV20-02398-JVS
SMILEY WANG‐EKVALL, LLP

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                                                                 12 COMMISSION,                               (DFMx)
                             3200 Park Center Drive, Suite 250
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                                                                 13                           Plaintiff,      NOTICE OF MOTION AND
                                                                                                              MOTION OF RECEIVER, JEFFREY
                                                                 14           v.                              E. BRANDLIN, FOR ORDER IN
                                                                 15 JUSTIN ROBERT KING; AND                   AID OF IMPLEMENTATION OF
                                                                    ELEVATE INVESTMENTS, LLC,                 THE ORDER APPOINTING THE
                                                                 16                                           PERMANENT RECEIVER
                                                                                   Defendants,
                                                                 17                                           [Memorandum of Points and
                                                                    and                                       Authorities and Declaration of
                                                                 18                                           Jeffrey E. Brandlin submitted
                                                                    SHANNON LEIGH KING,                       concurrently herewith]
                                                                 19
                                                                              Relief Defendant.               DATE:     August 1, 2022
                                                                 20                                           TIME:     1:30 p.m.
                                                                                                              CTRM:     10C
                                                                 21                                           JUDGE:    Hon. James V. Selna
                                                                 22
                                                                 23
                                                                      TO THE HONORABLE JAMES V. SELNA, UNITED STATES DISTRICT
                                                                 24
                                                                      JUDGE, AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                 25
                                                                              PLEASE TAKE NOTICE THAT Jeffrey E. Brandlin, the Court-
                                                                 26
                                                                      appointed receiver (the "Receiver") over Elevate Investments, LLC, and its
                                                                 27
                                                                      subsidiaries and affiliates (together, "Elevate"), will and hereby does move
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                                                                      2911354.1                              1                     NOTICE AND MOTION
                                                Case 8:20-cv-02398-JVS-DFM Document 84 Filed 07/01/22 Page 2 of 6 Page ID #:1491




                                                                  1 this Court for an order clarifying that the funds and assets held in four
                                                                  2 accounts are property of the receivership estate, or, in the alternative,
                                                                  3 expanding the receivership estate (the "Receivership Estate") to include
                                                                  4 such funds and assets. The Receiver believes that the following four
                                                                  5 account should be explicitly brought into the Receivership Estate:
                                                                  6    Brokerage/Bank             Account Name                       Account No.
                                                                  7    Name
                                                                  8    Charles Schwab & Co.       Justin Robert King (the "Justin    xxxx-5708
                                                                  9                               King Schwab Account")
                                                                 10    Charles Schwab & Co.       Shannon King (the "Shannon         xxxx-4019
                                                                 11                               King Schwab Account")
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                                                                 12    JPMorgan Chase Bank        Arizona Investment Kings (the      xxxx3592
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                 13                               "Arizona Investment Kings
                                                                 14                               Account")
                                                                 15    JPMorgan Chase Bank        Area Auto Glass LLC (the "Area     xxxx8687
                                                                 16                               Auto Glass Chase Account")
                                                                 17
                                                                 18           The Motion is made pursuant to the general principles of the law
                                                                 19 governing federal equity receiverships, sections IX.A, E & J of the
                                                                 20 Preliminary Injunction and Appointment of a Permanent Receiver [Docket
                                                                 21 No. 26], Federal Rule of Civil Procedure 66, and Local Civil Rule 66. The
                                                                 22 Motion is based on this Notice of Motion and Motion, the concurrently
                                                                 23 submitted Memorandum of Points and Authorities and Declaration of Jeffrey
                                                                 24 E. Brandlin, and any argument or evidence presented to the Court at any
                                                                 25 hearing on the Motion. The Motion, Memorandum of Points and Authorities,
                                                                 26 and other supporting papers are available on the website established by the
                                                                 27 Receiver to provide information to parties in interest, which is located at
                                                                 28 www.donlinrecano.com/Clients/ei/Index.

                                                                      2911354.1                               2                     NOTICE AND MOTION
                                                Case 8:20-cv-02398-JVS-DFM Document 84 Filed 07/01/22 Page 3 of 6 Page ID #:1492




                                                                  1           PLEASE TAKE FURTHER NOTICE that the hearing is nominally
                                                                  2 scheduled for August 1, 2022 at 1:30 p.m. Because of the pandemic,
                                                                  3 parties will be notified three days in advance if there is to be a hearing. If
                                                                  4 there is a hearing, the hearings are being staggered to minimize the number
                                                                  5 of people in the courtroom. If a hearing is not set, then the parties may
                                                                  6 request a hearing by filing a brief of no more than five pages by 5:00 p.m.
                                                                  7 the day following the date for which the hearing was nominally set. The
                                                                  8 Court will then determine if a hearing is necessary. If no request is
                                                                  9 submitted, the matter will be submitted on the papers and the tentative ruling
                                                                 10 will become the order of the Court. If the request is granted, the Court will
                                                                 11 advise the parties when and how the hearing will be conducted.
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                                                                 12           PLEASE TAKE FURTHER NOTICE that pursuant to Local Rule 7-9,
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                 13 each opposing party shall, not later than twenty-one (21) days before the
                                                                 14 dates scheduled for the hearing, serve upon all other parties and file with the
                                                                 15 Clerk either (a) the evidence upon which the opposing party will rely in
                                                                 16 opposition to the Motion and a brief but complete memorandum which
                                                                 17 contains a statement of all the reasons in opposition thereto and the points
                                                                 18 and authorities upon which the opposing party will rely, or (b) a written
                                                                 19 statement that the party will not oppose the Motion. Evidence presented in
                                                                 20 all opposing papers shall comply with the requirements of Local Rules 7-6,
                                                                 21 7-7 and 7-8.
                                                                 22           ///
                                                                 23           ///
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                                                                      2911354.1                              3                      NOTICE AND MOTION
                                                Case 8:20-cv-02398-JVS-DFM Document 84 Filed 07/01/22 Page 4 of 6 Page ID #:1493




                                                                  1 If you fail to file and serve a written opposition by the above date, the Court
                                                                  2 may grant the requested relief without further notice.
                                                                  3
                                                                  4                                    Respectfully submitted,
                                                                  5
                                                                      DATED: July 1, 2022              SMILEY WANG-EKVALL, LLP
                                                                  6
                                                                  7
                                                                  8                                    By:        /s/ Michael L. Simon
                                                                  9                                          Kyra E. Andrassy
                                                                                                             Michael L. Simon
                                                                 10                                          Counsel for Jeffrey E. Brandlin,
                                                                 11                                          Permanent Receiver
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                                                                 12
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                                                                      2911354.1                               4                     NOTICE AND MOTION
                                                Case 8:20-cv-02398-JVS-DFM Document 84 Filed 07/01/22 Page 5 of 6 Page ID #:1494


                                                                                                       PROOF OF SERVICE

                                                                  1 STATE OF CALIFORNIA, COUNTY OF ORANGE

                                                                  2       At the time of service, I was over 18 years of age and not a party to this action. I
                                                                    am employed in the County of Orange, State of California. My business address is 3200
                                                                  3 Park Center Drive, Suite 250, Costa Mesa, CA 92626.

                                                                  4         On 7/1/2022, I served true copies of the following document(s) described as

                                                                  5       NOTICE OF MOTION AND MOTION OF RECEIVER, JEFFREY E. BRANDLIN, FOR ORDER IN AID OF
                                                                                  IMPLEMENTATION OF THE ORDER APPOINTING THE PERMANENT RECEIVER
                                                                  6                      on the interested parties in this action as follows:

                                                                  7                              SEE ATTACHED SERVICE LIST

                                                                  8 (X) (BY COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”). Pursuant to United
                                                                    States District Court, Central District of California, Local Civil Rule 5-3, the foregoing
                                                                  9 document will be served by the court via NEF and hyperlinked to the document. On
                                                                    7/1/2022, I checked the CM/ECF docket for this case and determined that the
                                                                 10
                                                                    aforementioned person(s) are on the Electronic Mail Notice List to receive NEF
                                                                 11 transmission at the email address(es) indicated.
                                                                    (X) (BY MAIL). I enclosed the document(s) in a sealed envelope or package and placed
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                 12 the envelope for collection and mailing, following our ordinary business practices. I am
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                    readily familiar with the practice of Smiley Wang-Ekvall, LLP for collecting and
                                                                 13 processing correspondence for mailing. On the same day that correspondence is placed

                                                                 14 for collection and mailing, it is deposited in the ordinary course of business with the
                                                                    United States Postal Service, in a sealed envelope with postage fully prepaid. I am a
                                                                 15 resident or employed in the county where the mailing occurred. The envelope was
                                                                    placed in the mail at Costa Mesa, California.
                                                                 16 (X) (BY E-MAIL). By scanning the document(s) and then e-mailing the
                                                                    resultant pdf to the e-mail address indicated above per agreement. Attached to
                                                                 17 this declaration is a copy of the e-mail transmission.

                                                                 18
                                                                    ( ) (BY FACSIMILE). I caused the above-referenced documents to be
                                                                 19 transmitted to the noted addressee(s) at the fax number as stated. Attached to this
                                                                    declaration is a "TX Confirmation Report" confirming the status of transmission.
                                                                 20 Executed on ____________, at Costa Mesa, California.

                                                                 21 ( ) STATE I declare under the penalty of perjury under the laws of the State of

                                                                 22 California that the above is true and correct.

                                                                 23 (X) FEDERAL I declare that I am employed in the office of a member of the bar
                                                                    of this court at whose direction the service was made.
                                                                 24

                                                                 25 Executed on July 1, 2022, at Costa Mesa,                 /s/ Lynnette Garrett
                                                                    California.
                                                                 26                                                  Lynnette Garrett
                                                                 27

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                                                Case 8:20-cv-02398-JVS-DFM Document 84 Filed 07/01/22 Page 6 of 6 Page ID #:1495


                                                                                                            SERVICE LIST

                                                                  1 BY COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”):

                                                                  2       Kyra E Andrassy
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                                                                  3       Jeffrey E Brandlin
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                                                                  4       Lynn M. Dean
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                                                                          Kathryn C Wanner
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                                                                 10
                                                                      BY MAIL:
                                                                 11
                                                                       Justin and Shannon King                       Justin and Shannon King
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                 12    26500 Paseo Infinita                          10639 West Chestnut Street
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                       San Juan Capistrano, CA 92675                 Marana, AZ 85653
                                                                 13

                                                                 14

                                                                 15 BY EMAIL:

                                                                 16 All investors served by email. Email addresses withheld from this proof of service to

                                                                 17 protect the investors' privacy.

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